Case 0:18-cv-61720-BB Document 1 Entered on FLSD Docket 07/25/2018 Page 1 of 5



   88692-1
                                IN THE UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                      FORT LAUDERDALE DIVISION

                                     CASE NO. __________________


   ANGELA BENNETT, individually, and EDGAR
   CUEVAS, her husband,

                  Plaintiffs,

   vs.

   HOLIDAY CVS L.L.C., a Florida Limited
   Liability Company,

           Defendant.
   ________________________/

                                 DEFENDANT’S, HOLIDAY CVS LLC’S,
                                      NOTICE OF REMOVAL

             Pursuant to 28 U.S.C. §§ 1332, 1441 and 1446, Defendant, HOLIDAY CVS LLC

   (hereinafter, “HOLIDAY CVS”), hereby removes the above-styled action from the

   Seventeenth Judicial Circuit in and for Broward County, Florida to the United District

   Court for the Southern District of Florida on the basis of diversity jurisdiction. In support

   of removal, the Defendant states as follows:

             1.          HOLIDAY CVS is the sole Defendant in a civil action brought against it

   in the Seventeenth Judicial Circuit in and for Broward County, Florida, styled Angela

   Bennett and Edgar Cuevas v. Holiday CVS, LLC, Case No. CACE-18-014885. A true

   and correct copy of all process, and pleadings served upon HOLIDAY CVS is attached

   hereto as Composite Exhibit “1” in compliance with 28 U.S.C. section 1447 (b).

             2.          This action involves Plaintiff’s alleged personal injuries sustained as a

   result of an alleged incident at the HOLIDAY CVS store located at 1 North Federal
Case 0:18-cv-61720-BB Document 1 Entered on FLSD Docket 07/25/2018 Page 2 of 5



                                                                                  CASE NO.

   Highway, in Fort Lauderdale, Broward County, Florida on or about October 9, 2017

   (hereinafter “subject incident”). (See generally Compl. (attached hereto as a part of

   Composite Ex. 1)).

           3.      On or about June 25, 2018, Plaintiffs served HOLIDAY CVS with

   process in this matter. Defendant, HOLIDAY CVS, filed this Notice of Removal within

   thirty (30) days after receiving service of process.

           4.      Furthermore, HOLIDAY CVS received a comprehensive demand letter

   from the Plaintiffs dated April 27, 2018 (which is the first paper indicating an amount in

   controversy) including medical bills, invoices, and photos. See Plaintiffs’ Demand Letter

   dated April 27, 2017, attached as Ex. 2. Accordingly, this Notice of Removal is timely

   filed. See 28 U.S.C. § 1446(b). No further state court proceedings in this litigation have

   taken place as of the date of this Notice of Removal.

           5.      This is a civil action over which this Court has diversity jurisdiction

   pursuant to 28 U.S.C. § 1332. A defendant may remove a state court proceeding to

   federal court if: (1) the amount in controversy exceeds $75,000.00, exclusive of interests

   and costs, (2) the action is between citizens of different states, and (3) the defendant is

   not a citizen of Florida.

           6.      The amount in controversy in this case exceeds $75,000.00. Although the

   Complaint sets forth the minimal jurisdictional allegations necessary to invoke the

   jurisdiction of the state trial court, the nature and extent of the damages alleged in the

   Complaint, the Plaintiffs’ demand of $250,000.00 demonstrates that the amount in

   controversy exceeds the amount necessary to invoke the jurisdiction of the District Court.




                                               -2-
Case 0:18-cv-61720-BB Document 1 Entered on FLSD Docket 07/25/2018 Page 3 of 5



                                                                                    CASE NO.

   See Id. Therefore, Defendant has met its burden in establishing the amount in controversy

   requirement. See Archer v. Kelly, 271 F.Supp.2d 1320, 1322 (N.D. Okla. 2003)(holding

   the plaintiff's demand letter alleging damages of $1,325,000 was sufficient to establish

   that plaintiff's claim exceeded amount in controversy requirement necessary to exercise

   diversity jurisdiction); Molina v. Wal-Mart Stores Tx., 535 F.Supp.2d 805, 806 (W.D.

   Tex. 2008)(holding customer's pre-suit demand letter alleging damages of $100,000, was

   sufficient to establish an amount in controversy exceeding $75,000); see also Scott v.

   Home Depot U.S.A., Inc., 2012 WL 86986, *2 (Fla. S.D. 2012) (stating "a defendant may

   introduce its own affidavits, declarations or other documentation" to meet its burden to

   show that the amount in controversy exceeds $75,000).

          7.       The Plaintiffs, Angela Bennett and Edgar Cuevas, are citizens of the State

   of Florida. See ¶2 of Plaintiffs’ Complaint, Ex. 1.; see McCormick v. Aderholt, 293 F.3d

   1254, 1257 (11th Cir. 2002)(explaining that "[c]itzenship is the equivalent to domicile for

   purposes of diversity jurisdiction."). As stated in the Complaint, at the time of the subject

   incident, the Plaintiffs, Angela Bennett and Edgar Cuevas, were and are residents of

   Broward County, Florida and are otherwise sui juris. Id. at ¶2 and ¶3. Consequently,

   Plaintiffs are presumed to be citizens of the State of Florida. See Jones v. Law Firm of

   Hill & Ponton, 141 F. Supp. 2d 1349, 1355 (M.D. Fla. 2001).

          8.       Further, Defendant, HOLIDAY CVS, is a single member LLC, its sole

   managing member being CVS Pharmacy, Inc. which is a corporation incorporated under

   the laws of the State of Rhode Island with its principal place of business in Woonsocket,

   Rhode Island. (See Fla. Division of Corporations 2018 Annual Report, attached hereto




                                               -3-
Case 0:18-cv-61720-BB Document 1 Entered on FLSD Docket 07/25/2018 Page 4 of 5



                                                                                  CASE NO.

   as Exhibit 3). Consequently, CVS Pharmacy, Inc. is a citizen and resident of Rhode

   Island. See 28 U.S.C. § 1332(c)(1) (“[A] corporation shall be deemed to be a citizen of

   any State by which it has been incorporated and of the State where it has its principal

   place of business.”)

          9.      Accordingly, this Court has diversity jurisdiction pursuant to 28 U.S.C. §

   1332 because the amount in controversy exceeds $75,000.00, exclusive of interests and

   costs, the action is between Plaintiffs, citizens of Florida, and Defendant, which the sole

   member is a Rhode Island corporation with a principal place of business located at One

   CVS Dr., Woonsocket, RI 02895. Removal to this Court is therefore proper pursuant to

   28 U.S.C. § 1441 given this Court's diversity jurisdiction. See 28 U.S.C. § 1332; see 28

   U.S.C. § 1441 (a).

          10.     Pursuant to procedural requirements for removal set forth in 28 U.S.C.

   section 1446(d), HOLIDAY CVS will file a Notice of Filing Notice of Removal with the

   Clerk of Court for the Seventeenth Judicial Circuit in and for Broward County, Florida,

   and will provide written notice of this Notice of Removal to all parties via e-service. A

   copy of the Notice of Filing is attached hereto. (See State Court Notice of Removal

   (attached hereto as Exhibit 4).

          WHEREFORE Defendant, HOLIDAY CVS, respectfully requests that the above

   action now pending in the Circuit Court of the Seventeenth Judicial Circuit in and for

   Broward County, Florida, be removed therefrom to this Honorable Court because the

   citizenship of the parties is diverse and the amount in controversy exceeds the sum of

   Seventy-Five Thousand Dollars ($75,000.00).




                                              -4-
Case 0:18-cv-61720-BB Document 1 Entered on FLSD Docket 07/25/2018 Page 5 of 5



                                                                                CASE NO.



                                           Respectfully submitted,



                                           ______________________________
                                           Jacob J. Liro, Esquire (32720)
                                           JLiro@wickersmith.com
                                           WICKER SMITH O’HARA McCOY & FORD, P.A.
                                           2800 Ponce de Leon Boulevard
                                           Suite 800
                                           Coral Gables, FL 33134
                                           Telephone:      (305) 448-3939
                                           Facsimile:      (305) 441-1745
                                           Attorneys for Holiday CVS LLC


                               CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the foregoing was filed with
   the Clerk of Court using the CM/ECF system on July 25, 2018, and the foregoing
   document is being served this day on all counsel or parties of record on the Service List
   below, either via transmission of Notices of Electronic Filing generated by CM/ECF or in
   some other authorized manner for those counsel or parties who are not authorized to
   receive Notices of Electronic Filing.


                                            ______________________________
                                            Jacob J. Liro, Esquire


                                      SERVICE LIST

   Justin Weinstein, Esquire
   Weinstein Legal
   330 N. Andrews Avenue
   Suite 101
   Fort Lauderdale, FL 33301
   Telephone:    (954) 845-0505
   Facsimile:    (954) 206-0050
   Pleadings@Weinstein-Legal.com




                                             -5-
